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  VIRAL DRM, LLC                                                                                             The YouTube Uploaders Listed on Schedule A
      E &RXQW\RI 5HVLGHQFHRI)LUVW/LVWHG 3ODLQWLII               Outside CA                                  &RXQW\ RI5HVLGHQFHRI)LUVW/LVWHG'HIHQGDQW
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      F      $WWRUQH\V(Firm Name, Address, and Telephone Number)                                               $WWRUQH\V(If Known)
 SRIPLAW, P.A. 8730 Wilshire Boulevard, Suite 350
 Beverly Hills, CA 90211 323.452.5600 - Telephone

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